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                         UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF UTAH


 In Re:                                                   Case Number 23-25897
 CORBIN WILLIAM ARCHER and
 LISA ANN-COLLET ARCHER,                                  Chapter 13

        Debtors.                                          Judge Peggy Hunt


   EX PARTE MOTION TO EXTEND TIME TO FILE THE PAPERS REQUIRED BY
        FEDERAL RULES OF BANKRUPTCY PROCEDURE 1007 AND 2016


       COMES NOW Debtors, Corbin and Lisa Archer, by and through their attorney of record,

Sarah J Larsen, of Huntsman Lofgran Walton, PLLC, and hereby move the court for an Order to

extend the deadline to file all the papers required in their Chapter 13 bankruptcy case. This

Motion is based upon the following grounds and for the following reasons:

   1. Debtors filed a Chapter 13 bankruptcy on December 22, 2023, on an emergency basis to

       stop some aggressive creditors.

   2. Debtors and their Counsel were finalizing the paperwork for the bankruptcy case when

       Counsel became very ill and was out of the office for over a week. It was Counsel’s fault

       and only Counsel’s fault that the objection was not prepared and filed to the Trustee’s




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        Motion to Dismiss. The objection deadline was February 1, 2024. As a result, the case

        was dismissed on February 2, 2024.

   3. Debtors wish to move forward with their case and Counsel will be filing a Motion to

        Vacate Dismissal. Counsel is filing this Motion on Debtors’ behalf since the 521(i)

        deadline is today and an attempt to vacate the dismissal will be moot if the case will

        automatically be dismissed upon reinstatement.

WHEREFORE, Debtors and their counsel respectfully request that the court extend the deadline

for filing their bankruptcy deficiencies until February 12, 2024, so Debtors and Counsel can

prepare and file a Motion to Vacate Dismissal plus file any missing paperwork in the bankruptcy

case.

                                              HUNTSMAN LOFGRAN WALTON, PLLC



                                              By         /s/ Sarah J. Larsen        _    _
                                                   Sarah J Larsen, Attorney




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